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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CONSOLIDATED ACTION
                                                                   CASE NO.: 0:19-cv-60839-WPD

   RONALD D GENTILE, individually
   and on behalf of all others similarly situated

          Plaintiff,
   vs.

   I.C. SYSTEM, INC.,

         Defendant.
   ____________________________________/


   STACYE PETERSON, individually                             CASE NO.: 0:19-cv-61663-WPD
   and on behalf of all others similarly situated

          Plaintiff,
   vs.

   I.C. SYSTEM, INC.,

         Defendant.
   ____________________________________/

                               ORDER CONSOLIDATING CASES

         THIS MATTER is before the Court sua sponte.

         On December 4, 2019, the Court entered an Order requiring the Parties’ to respond stating

  whether there was reason to consolidate the above cases for any purpose including trial. Plaintiff

  Ronald Gentile responded expressing opposition to the consolidation. [DE 26]. Plaintiff Stacye

  Peterson and Defendant I.C. System, Inc. filed a joint response, per the Court’s Order, agreeing

  that the parties (Stacye Peterson and Defendant) “believe in good-faith that consolidation is in the

  best interest of all parties involved, as well as judicial economy.” [DE 21] in Case No. 0:19-cv-

  61663-WPD.
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         Rule 42(a) provides:

                 (a) Consolidation. When actions involving a common question of
                     law or fact are pending before the court, it may order a joint
                     hearing or trial of any or all the matters in issue in the actions; it
                     may order all the actions consolidated; and it may make such
                     orders concerning proceedings therein as may tend to avoid
                     unnecessary costs or delay.

  Fed. R. Civ. P. 42(a). This rule is a codification of a trial court's inherent managerial power “‘to

  control the disposition of the causes on its docket with economy of time and effort for itself, for

  counsel, and for litigants.’” In re Air Crash Disaster at Florida Everglades, 549 F.2d 1006, 1012

  (5th Cir.1977) (quoting Landis v. North American Co., 299 U.S. 248, 254 (1936)). The Eleventh

  Circuit has encouraged district courts to “make good use of Rule 42(a) ... in order to expedite the

  trial and eliminate unnecessary repetition and confusion.” Hendrix v. Raybestos-Manhattan, Inc.,

  776 F.2d 1492, 1495 (11th Cir. 1985) (quoting Dupont v. Southern Pacific Co., 366 F.2d 193, 195

  (5th Cir.1966), cert. denied, 386 U.S. 958 (1967)).

         This     Court’s     decision      under     Rule      42(a)     is    purely        discretionary.

  See Hendrix, 776 F.2d at 1495 (citations omitted). In exercising its discretion, the court must

  determine:

                 [W]hether the specific risks of prejudice and possible confusion
                 [are] overborne by the risk of inconsistent adjudications of common
                 factual and legal issues, the burden on parties, witnesses and
                 available judicial resources posed by multiple lawsuits, the length of
                 time required to conclude multiple suits as against a single one, and
                 the relative expense to all concerned of the single-trial, multiple-trial
                 alternatives.

  Arnold v. Eastern Air Lines, Inc., 681 F.2d 186, 193 (4th Cir.1982), cert. denied, 460 U.S. 1102

  (1983) and 464 U.S. 1040 (1984).

         Here, the Court finds the cases are clearly related. Related plaintiffs have filed actions

  asserting the substantially similar claims, against the same Defendant, with overlapping facts, on
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  behalf of substantially similar classes. Both complaints allege Defendant is a consumer collection

  agency that engaged in unfair or unconscionable debt collection practices, in particular charging

  Plaintiffs a “convenience fee.” See [DE 1] ¶ 37, Case No. 0:19-cv-61663-WPD [DE 21] ¶ 50. The

  Court notes that the “first filed rule” is inapplicable in the present case as both actions are presently

  proceeding in front of the same court. See Collegiate Licensing Co. v. Am. Cas. Co. of Reading,

  Pa., 713 F.3d 71 (11th Cir. 2013). Therefore, the Court exercises its discretion to consolidate these

  cases.

           Accordingly, the Court hereby ORDERS and ADJUDGES as follows:

           1.     Case No. 0:19-cv-60839-WPD and Case No. 0:19-cv-61663-WPD are hereby

  CONSOLIDATED for all purposes, including trial.

           2.     All pleadings and papers shall be filed in the lower numbered case, Case No. 0:19-

  cv-60839-WPD and shall henceforth bear the caption set forth by the Court on page 1 of this Order.

           3.     Case No. 0:19-cv-61663-WPD is hereby ADMINISTRATIVELY CLOSED.

  Any documents filed in Case No. 0:19-cv-61663-WPD in the future shall be automatically

  stricken.

           4.     The Clerk shall place a copy of this Order in Case No. 0:19-cv-60839-WPD and

  Case No. 0:19-cv-61663-WPD, thereby indicating that the cases have been consolidated.

           5.     On or before January 9, 2020 the Parties shall meet and confer regarding the filing

  of a consolidated amended class action complaint.

           6.     On or before January 21, 2020 the Parties shall file a single, joint, status report

  including 1) whether Plaintiffs will be filing a consolidated class action complaint 2) a proposed

  schedule for remaining discovery, expert witness reports, motion practice, and trial and 3) a

  proposed order scheduling mediation.
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         DONE and ORDERED in Chambers in Fort Lauderdale, Broward County, Florida, this

  26th day of December, 2019.




  Copies furnished to:
  Counsel of record
